      CaseCase
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               6:18-cr-00149-RP
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                           IN THE UNITED STATES DISTRICT COURT             CLERK,   U.S.   OSW6'COUR1
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                            FOR THE WESTERN DISTRICT OF TEXAS
                                      WACO DIVISION


                                               *     CRIMINAL NO.
UNITED STATES OF AMERICA,

              Plaintiff,
                                               *
                                               *
                                                                      ii9CR19
                                                                IND1!4ENT
                                               *
                                               *     ['110: 18 U.S.C. 1029(a)(3) & (c)(1)(a)(i)
V.
                                               *     Possession of Fifteen or More Counterfeit or
                                               *     Unauthorized Access Devices
MATTHEW JOSHUA PUMPHREY,
                                               *
                                               *
               Defendant
                                                                  4:18mj0926
THE GRAND JURY CHARGES:

       On or about February 27, 2018, in the Western District of Texas, the Defendant,

                              MATTHEW JOSHUA PUMPHREY,

knowingly and with intent to defraud, possessed at least fifteen (15) unauthorized access devices,

the said possession affecting interstate and foreign commerce, in violation of Title 18, United

States Code, Sections 1029(a)(3) and (c)(l)(a)(i).

                                              A TRUE BILL:
                                                               SEALED DOCUMENT PURSUW
                                                               TO E-GOVERNMENT ACT OF 2
                                                       t[SAI

JOHN F. BASH
United States Attorney



By:         Y F. KUCERA
      Assistant United States Attorney
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